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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                            Case No. 10-20077-02-JWL


Samuel Barajas,

                    Defendant.

                                 MEMORANDUM & ORDER

      Defendant Samuel Barajas was convicted by a jury of conspiracy to distribute more than

500 grams of methamphetamine; aiding and abetting possession with intent to distribute 50 grams

or more of methamphetamine; and using a communication facility (a cellular telephone) in

committing, causing and facilitating the conspiracy. Based on a total offense level of 44 and a

criminal history category of I, the advisory guideline range was life imprisonment. The court

sentenced defendant to life in prison. In February 2017, the court granted defendant’s motion for

a sentence reduction under Amendment 782 and resentenced defendant to 360 months

imprisonment, the low-end of the amended guideline range. Defendant’s projected release date

is December 18, 2035.

      This matter is now before the court on defendant’s pro se motion for sentence reduction

pursuant to 18 U.S.C. § 3582(c)(1)(A) and to appoint counsel (doc. 232). The Tenth Circuit has

endorsed a three-step test for district courts to utilize in connection with motions filed under §

3582(c)(1)(A). United States v. McGee, 992 F.3d 1035, 1042 (10th Cir. 2021) (citing United

States v. Jones, 980 F.3d 1098, 1107 (6th Cir. 2020)). Under that test, a court may reduce a
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sentence if the defendant administratively exhausts his or her claim and three other requirements

are met: (1) “extraordinary and compelling” reasons warrant a reduction; (2) the “reduction is

consistent with applicable policy statements issued by the Sentencing Commission;” and (3) the

reduction is consistent with any applicable factors set forth in 18 U.S.C. § 3553(a). Id. 1 A court

may deny compassionate-release motions when any of the three prerequisites is lacking and need

not address the others. Id. at 1043. But when a district court grants a motion for compassionate

release, it must address all three steps. Id. As will be explained, defendant has not come forward

with extraordinary and compelling reasons sufficient to warrant a reduction in his sentence. The

court, then, declines to address the other prerequisites.

       The defendant argues that two extraordinary and compelling reasons exist for his

immediate release from prison—his 360-month sentence is excessive and he has undergone

substantial rehabilitation while in custody.2 The court begins with defendant’s argument that his

sentence is excessive. Defendant does not contend that his sentence would be lower if he were

sentenced today for the same conduct and the record reveals that his sentence was based on a

straightforward application of the sentencing guidelines in light of his crimes of conviction. The

PSR calculated a base offense level of 38 based on the quantity of methamphetamine attributed to



1
 The government concedes that defendant has adequately exhausted his administrative remedies.
2
 In his motion, defendant asserts that he intends to also seek release based on “a dependent family
member” and that he intends to supplement his motion. No supplement has been submitted and
the court does not consider this asserted reason. Moreover, in his reply brief, defendant references
several district court decisions granting compassionate release for reasons associated with the
COVID-19 pandemic. But defendant makes no argument that he should be released based on
COVID-19 and, even if his reply could be liberally construed as advancing that argument, the
court declines to address it. See Minshall v. McGraw Hill Broadcasting Co., 323 F.3d 1273, 1288
(10th Cir. 2003) (court does not address arguments raised for the first time in reply brief).
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defendant (more than 1.5 kilograms of “Ice”) and he received a two-level enhancement under

U.S.S.G. § 2D1.1(b)(5) because the offense involved the importation of methamphetamine. He

received a four-level enhancement based on his leadership role in the offense. In essence, then,

defendant’s challenge to his lengthy sentence is one to the sentencing guidelines themselves. This

complaint is likely shared by a significant number of individuals who are serving lengthy

sentences after drug convictions. But, as explained by the Tenth Circuit, § 3582(c)(1)(A) is

designed to remedy a defendant’s “unique circumstances.” United States v. McGee, 992 F.3d

1035, 1048 (10th Cir. 2021). Defendant has not identified any circumstances about his sentence,

unique to him, that warrant a reduction in his sentence. See United States v. Georgiou, 2021 WL

1122630, at *10 (E.D. Pa. Mar. 23, 2021) (rejecting argument that defendant’s 300-month

sentence was disproportionately long; defendant’s challenge was to the guidelines themselves, a

challenge that § 3582(c) was not designed to remedy) (citing United States v. Williams, 2020 WL

5573046, at *4 (E.D. Pa. Sept. 17, 2020) (“The remedy that [defendant] seeks is reserved for

circumstances peculiar to an individual—his health, his age—and is not designed to challenge the

guidelines themselves . . . [This] would undermine the very function of the federal sentencing

regime: to provide certainty and consistency across sentences.”)).

       The court also rejects defendant’s argument that his rehabilitation is sufficient to warrant

early release. Generally, the rehabilitation of an inmate during his or her incarceration is not

grounds for compassionate release. See, e.g., United States v. Alvarez, 2020 WL 4904586, at *5

(E.D.N.Y. Aug. 20, 2020); 28 U.S.C. § 994(t) (“Rehabilitation of the defendant alone shall not be

considered an extraordinary and compelling reason.”) (emphasis in original); see also United

States v. Saldana, 807 Fed. Appx. 816, 820 (10th Cir. Mar. 26, 2020) (district court did not err in

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finding, consistent with § 994(t), that defendant’s rehabilitation alone was not an extraordinary

and compelling reason for a sentence reduction). And while some courts have found extraordinary

and compelling circumstances to exist when presented with applications by defendants who had

spent substantial time in prison and had demonstrated significant rehabilitation during that time,

those courts also found a specific defect or inequity in the defendant’s sentence, see Alvarez, 2020

WL 4904586, at *5, such as Congress’s decision to eliminate stacked sentencing under § 924(c).

See, e.g., United States v. Nafkha, 2021 WL 83268, at *4 (D. Utah Jan. 11, 2021) (young age at

time of offenses, rehabilitation in prison, good character and elimination of mandatory sentence

stacking under § 924(c), considered together, established extraordinary and compelling reasons

for compassionate release) (collecting cases). That critical factor is absent from the record here.

Defendant has not shown anything objectionable about the length of his sentence or any reason

why his sentence would be less if imposed today.

       The court turns, then, to defendant’s motion for appointment of counsel, which the court

denies. There is no constitutional right to counsel beyond the direct appeal of a conviction. Swazo

v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994); Pennsylvania v. Finley, 481 U.S. 551,

555 (1987). When exercising its “broad discretion” to decide whether to appoint counsel to an

indigent litigant, the district court “should consider a variety of factors, including the merits of the

litigant's claims, the nature of the factual issues raised in the claims, the litigant's ability to present

his claims, and the complexity of the legal issues raised by the claims.” Williams v. Meese, 926

F.2d 994, 996 (10th Cir. 1991) (considering appointment of counsel for indigents under 28 U.S.C.

§ 1915). None of these factors weigh in favor of appointing counsel to defendant. As described

above, the substantive merits of defendant’s motion for compassionate release do not warrant

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appointing counsel at this time. Moreover, defendant’s pro se motion for compassionate release

reflects that he is able to articulate his arguments clearly and coherently and that the factual and

legal issues implicated by the motion are straightforward. Finally, this District has implemented

Administrative Order 20-8, which requires the Federal Public Defender to notify the court within

fifteen days of any pro se individual filing a compassionate release motion whether it intends to

enter an appearance on behalf of the defendant, or whether it seeks additional time to make such

determination. This ensures that every pro se motion for compassionate release is at least reviewed

by that office. On January 11, 2022, the Federal Public Defender notified the court that it had

reviewed defendant’s pro se motion for compassionate release and that it did not intend to enter

an appearance on his behalf.



       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s motion for

sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A) and to appoint counsel (doc. 232) is

denied.



       IT IS SO ORDERED.



       Dated this 10th day of March, 2022, at Kansas City, Kansas.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge



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